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             IN THE UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF ARKANSAS
                      WESTERN DIVISION


UNITED STATES OF AMERICA                                            PLAINTIFF


v.                         No.4:11-cr-98-DPM-05


BRANDON DOWD                                                      DEFENDANT


                                   ORDER

     Dowd's motion to sever, Document No. 99, is denied. Dowd argues

that he may be hurt at trial by his unspecified family relationship to

another defendant with closer involvement in the conspiracy. Document

No. 99, at 3. But the Eighth Circuit has held that U[s]everance is never

warranted simply because the evidence against one defendant is more

damaging than that against another, even if the likelihood of the latter's

acquittal is thereby decreased." United States v. Hively, 437 F.3d 752, 765

(8th Cir. 2006) (citation omitted). The facts are all interrelated here. United

States v. Mueller, 661 F.3d 338, 348 (8th Cir. 2011). A joint trial not only

conserves judicial resources, but gives the jury the "best perspective on all

the evidence[.]" Hively, 437 F.3d at 765 (quotation omitted). And
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conspiracy defendants should be tried together. United States v. Lewis, 557

F.3d 601, 609 (8th Cir. 2009).

      Dowd's motion to dismiss the indictment, Document No. 100, is

denied as well. The misidentification that Dowd stands on occurred

during the warrant application process. He was found at the house. And

the grand jury returned an indictment based on the fact he was found at

the house. A drug-conspiracy indictment need not allege an overt act.

United States v. Covos, 872 F.2d 805, 809 (8th Cir. 1989). It follows that none

needed to be presented to the grand jury. H the evidence at trial would not

permit a reasonable juror to convict Dowd, then the Court will direct a

verdict of acquittal as to him. But the indictment stands.

      So Ordered.

                                     D.P. Marshillf;
                                     United States District Judge

                                       4 April 2012




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